      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 1 of 49




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                            *    CIVIL ACTION

VERSUS                                           *    NO.

THE ADMINISTRATORS OF THE                        *    JUDGE _______________
TULANE EDUCATIONAL FUND
                                                 *    MAGISTRATE JUDGE _______________

                                                 *    JURY TRIAL DEMANDED

                                          COMPLAINT

        NOW INTO COURT, through undersigned counsel, comes plaintiff, Princess Dennar,

M.D., who, for claim against defendant, The Administrators of the Tulane Educational Fund

(“Tulane”), avers as follows:

                                            PARTIES

                                                 1.

        Princess Dennar, M.D. ("Dr. Dennar") is a physician practicing and licensed to practice in

the State of Louisiana. She is employed by defendant, Tulane, as an Assistant Professor at the Tulane

University School of Medicine. Dr. Dennar is the Program Director of the Medicine Pediatrics

Residency Program at Tulane (hereinafter "Med-Peds") and the Medical Director of Tulane Primary

Care Clinic at University Medical Center. She was originally recruited to Tulane in January 2008

as Medical Director of the Internal Medicine Residency Ambulatory Service. She assumed the role

of the Co-Program Director of the Med- Peds Program in September 2008 pending the retirement

of the incumbent Program Director. She was announced as Med-Peds Program Director on

December 1, 2009, and has served in that capacity since that time.


00553244.WPD;1
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 2 of 49




                                                 2.

        Dr. Dennar is a black female citizen of the United States.

                                                 3.

        She is the first and only black female residency Program Director in the Tulane School of

Medicine.

                                                 4.

        Defendant, The Administrators of the Tulane Educational Fund (“Tulane”), is a corporate

citizen of Louisiana, and, in that capacity, operates and is responsible for the acts of the Tulane

University School of Medicine.

                                                 5.

        While not named as defendants herein, the conduct complained of was orchestrated and

carried out by Dr. Jeffrey Wiese (“Dr. Wiese”) and Dean Lee Hamm (“Dr. Hamm”) during the

course and scope of their employment with Tulane. Dr. Wiese served in multiple positions within

Tulane’s medical school which gave him authority and power over Dr. Dennar and her working

conditions and environment. Dean Hamm likewise had control and power over Dr. Dennar’s

program, position, and employment.

                                   JURISDICTION/VENUE

                                                 6.

        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 as

Dr. Dennar’s claims arise under 42 U.S.C. § 2000(e), Title VII of the Civil Rights Act of 1964.




00553244.WPD;1                                  -2-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 3 of 49




                                                  7.

        The Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Dr. Dennar’s

Louisiana state law claims.

                                                  8.

        Venue is proper under 28 U.S.C. § 1391(b)(2) as a substantial part of the events giving rise

to the claims occurred in this District and as each defendant resides in this District.

                                                  9.

        Dr. Dennar has complied fully with all prerequisites under Title VII and has received a Right

to Sue Letter.

                                      CAUSES OF ACTION

                                                 10.

        In addition to her federal claims brought pursuant to and under 42 U.S.C. § 2000(e), Dr.

Dennar also brings claims against Tulane for abuse of rights, and discrimination, harassment, the

creation of a hostile work environment, and retaliation          in violation of Louisiana’s anti-

discrimination laws at La. R.S. 23:332.

                                      OPERATIVE FACTS

                                                 11.

        At all times pertinent hereto, Dr. Dennar has been an Assistant Professor in the Tulane

University School of Medicine.




00553244.WPD;1                                   -3-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 4 of 49




                                                  12.

          At all times pertinent hereto, Dr. Dennar has served as Program Director of the Med-Peds

Residency or Medical Director of the Internal Medicine Primary Care Clinic at University Medical

Center.

                                                  13.

          The Med-Peds Program is that part of the Tulane School of Medicine in which Residents

train in both pediatrics and internal medicine. Dr. Dennar was responsible for the development of

those Residents.

                                                  14.

          During the course of her service to the University and her program, Dr. Dennar observed and

has been burdened by many acts of discrimination and the creation of and ongoing conduct

constituting a race and gender based hostile work environment which have adversely impacted her

employment, program, position, duties, responsibilities, authority, assignments, service, pay, and her

ability and opportunity to recruit Residents independently into her Program.

                                                  15.

          As she complained about race and gender based discrimination, she has been subjected to

retaliation through diminishment of her job responsibilities, access to resources, program, position,

duties, authority, assignments, service, pay, and her ability and opportunity to recruit Residents into

her Program.




00553244.WPD;1                                    -4-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 5 of 49




                                                 16.

        She has also been discriminated and retaliated against by a failure to receive timely

consideration for and promotion to the rank of Associate Professor and to receive the emoluments

and benefits thereof.

                                                 17.

        When Dr. Dennar originally interviewed for a Directorship at Tulane in 2008, she was

informed by Dr. Lee Hamm (“Dr. Hamm”), who was then Chair of the Internal Medicine

Department, and now Dean of the Tulane School of Medicine, that Tulane did not “want to change

the face of Tulane” and that “I’m afraid that white medical students wouldn’t follow or rank

favorably a program with a black program director; [however] we’ll be comfortable with you sharing

a position as co-director with the previous [white male Med-Peds] program director.”

                                                 18.

        Based on those limitations and restrictions for over a full year, Dr. Dennar shared a 50% title

but did 100% of the supervisory and program planning work which, based upon Dr. Hamm’s

inappropriate remarks, was in an effort to mask her leadership of the program.

                                                 19.

        During that year in which Dr. Dennar assumed full leadership, she steered the Med-Peds

Residency Program to full accreditation by the Accreditation Council for Graduate Medical

Education (“ACGME”) for the first time. Nonetheless, Tulane refused to publicly disclose Dr.

Dennar’s ascension into this position, to the Accreditation Counsel for Graduate Medical Education

(“ACGME”) and the National Residency Match Program (“NRMP”) until one year later in


00553244.WPD;1                                    -5-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 6 of 49




December 2009 after Dr. Hamm was able to obtain another white male to function as her Assistant

Program Director to aid in recruiting white Residents.

                                                20.

        Thereafter, when she assumed the status as the sole Director of the Residency Program, the

goal posts were shifted such that rotation scheduling for Residents, which was previously under the

management and supervision of the Med-Peds Program Director, was moved to the management and

supervision of the Internal Medicine Program Director, Dr. Jeffrey Wiese (“Dr. Wiese”), who also

serves concurrently as the Associate Dean of Graduate Medical Education (“GME”) and Tulane’s

Designated Institutional Official (“DIO), such that he had responsibility for ensuring compliance

with ACGME institutional requirements.

                                                21.

        In his multiple capacities, Dr. Wiese has substantial control and an apparent recognized and

conflict of interest permitted by Tulane.

                                                22.

        In 2014, Dr. Dennar matched an all female and all minority class of Residents (four Black

females, one Hispanic female, and one Asian female) that was expected to graduate in June 2018.

                                                23.

        On June 16, 2017, Dr. Dennar served as a witness for her then Program Coordinator when

that individual filed charges of discrimination against Dr. Wiese’s then Program Manager. The

assertion was that Dr. Wiese’s Program Manager had discriminated against Dr. Dennar’s Program

Coordinator based on race.




00553244.WPD;1                                  -6-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 7 of 49




                                                 24.

        That investigation determined that Dr. Wiese’s Program Manager had committed the asserted

unlawful acts and that Program Manager abruptly left her position at Tulane.

                                                 25.

        After Dr. Dennar served as a witness for discrimination against Dr. Wiese’s Program

Manager for the Internal Medicine Residency Program, Dr. Wiese began a campaign of retaliation

against Dr. Dennar, her Program Coordinator, Residents in the Med-Peds Residency Program, and

the Med-Peds Residency Program.

                                                 26.

        Dr. Dennar observed other acts of race based discrimination which she raised with Dr. Wiese.

                                                 27.

        Each time Dr. Dennar confronted Dr. Wiese and GME leadership about unfavorable or

discriminatory treatment, she was either rebuffed, threatened, told to back off, or instructed to be a

team player.

                                                 28.

        On January 11, 2018, a Black female Resident, who was also in Med-Peds, independently

filed a complaint with ACGME against Dr. Wiese and the Internal Medicine Residency Program

regarding educational and workplace violations in an effort to improve patient safety and secure

physical wellness. The anonymity of this Resident, which should have been protected, was

disclosed.




00553244.WPD;1                                   -7-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 8 of 49




                                                 29.

        In February 2018, Dr. Wiese went against GME policy for the recruitment of Residents and

Fellows between training programs at Tulane in retaliation against Dr. Dennar and negotiated with

two of Dr. Dennar’s former interns to transfer them from the Med-Peds Residency to the Internal

Medicine Residency without her permission.

                                                 30.

        In April 2018, seven Black female Residents collectively filed a complaint with ACGME and

Tulane’s Office of Institutional Equity (“OIE”) asserting various discriminatory acts by Dr. Wiese

and put forth a formal demand for a fair and equitable educational experience at Tulane.

                                                 31.

        On April 6, 2018, Dr. Dennar filed a separate complaint with OIE arising out of race and

gender-based discrimination perpetuated by Tulane through Dr. Wiese. The acts complained of

included, inter alia:

        (1)      Discriminatory practices forcing a more difficult rotation schedule on Residents of

                 minority backgrounds;

        (2)      Refusal to allow minority Residents to complete the required ACGME rotations

                 needed for graduation;

        (3)      Threats to reduce the Med-Peds Residents annual intake number from six Residents

                 to four Residents under the guise of “restructuring” GME;

        (4)      Refusal to allow Dr. Dennar to operate with the needed and appropriate authority to

                 actually perform her responsibilities as the Med-Peds Program Director;


00553244.WPD;1                                   -8-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 9 of 49




        (5)      Requiring Residency Program Directors and Fellowship Directors to use a

                 discriminatory program introduced by Dr. Wiese called “ATLAS,” which was used

                 to match potential Residents with Tulane. The ATLAS tool imposed by Dr. Wiese

                 was used to prepare the final rank Residency/Fellowship List. ATLAS is structured

                 to rank traditionally black LCME accredited medical colleges on the most bottom of

                 the list on par with international medical schools such that doing exceptionally well

                 on standardized tests still would not make graduates of these schools competitive;

        (5)      Undermining Dr. Dennar’s leadership and authority and depriving her of the

                 responsibilities of her position as the Medical Director of the Internal Medicine

                 Residency Ambulatory Clinic;

        (6)      Retaliating against Dr. Dennar for having raised concerns over the improper

                 treatment and recruiting of minority Residents. Dr. Wiese retaliated against Dr.

                 Dennar by threatening to look at and minimize the contributions that Dr. Dennar and

                 the Med-Peds Residency had made to the institution to suggest that she should

                 remain silent or he would close the Program down as the DIO.

                                                  32.

        In June 2018, ACGME extended an egregious site visit and issued a citation to the Internal

Medicine Residency, the Med-Peds Residency, and the institution.

                                                  33.

        ACGME also found that race or gender discrimination could not be excluded as a reason for

these deficiencies given that the Med-Peds residency program is made up of a higher percentage of




00553244.WPD;1                                    -9-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 10 of 49




minority residents than the Internal Medicine residency. As a result of all of these findings, ACGME

gave Tulane the official "Warning Status."

                                                 34.

        Since Dr. Dennar voiced concerns of discrimination and retaliation, Dean Hamm, Dr. Wiese,

and others in positions of authority in the GME office, have continued a pattern of retaliation against

Dennar, the Med-Peds Program Coordinator and other black females in the Med-Peds residency.

                                                 35.

        Above referenced identified acts of discrimination, harassment, and retaliation, as well as

additional acts, are spelled out in greater detail below.

                                                 36.

        The Tulane residency structure employs a four plus one system for the IM Department.

Under that structure four weeks are allocated to either inpatient wards, critical care and ER or

subspecialty elective time followed by one week of ambulatory outpatient medicine.

                                                 37.

        During the four-week periods, the Med-Peds Residents, particularly those of minority

background and women were disproportionately given wards and critical care time and deprived of

ER or elective time necessary to round out their training and experience. This became more evident

after June 2017 and particularly with the all female minority class.

                                                 38.

        Those practices discriminated against Residents of minority background by forcing on them

a more difficult rotation schedule and denying them access to needed skills and training.




00553244.WPD;1                                   -10-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 11 of 49




                                                 39.

        Pursuant to ACGME Policy IV.A.8.a., the total required critical care experience must not

exceed eight months and must include at least three months in pediatrics and at least two months in

internal medicine.

                                                 40.

        Because of flaws in Tulane's management system, there was a time when a minority female

Resident was not given vacation for the entire year. When this inappropriate outcome was brought

to Dr. Wiese's attention, rather than provide the minority Resident with her needed vacation time,

he took away her subspecialty elective time in lieu of her vacation time.

                                                 41.

        Dr. Wiese continued to violate normal processes to deprive the Med-Peds Residents of

needed and desired training.

                                                 42.

        These deprivations took on greater intensity subsequent to June 2017. All of the deprivations

were done without the approval of the Med-Peds Program Director, Dr. Dennar.

                                                 43.

        During an eight month term in medicine, approximately two weeks might be allocated toward

subspecialty electives and the remaining 7.5 months would be wards or ICU. This deprived the

minority Residents of access to ER and subspecialty elective training required for graduation. This

became more evident with the all women minority graduating class of 2018 which included

residents like Dr. Okeke who also filed charges against Tulane.


00553244.WPD;1                                  -11-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 12 of 49




                                                44.

        Tulane’s refusal and failure to allow minority Residents to complete the required ACGME

rotations needed for graduation violates several ACGME policies, including IV.A.8.a., IV.A.9.b.,

IV.C., and IV.E. Dr. Dennar objected, to no avail. The violations resulted in an ACGME egregious

site visit to Tulane on June 21, 2018.

                                                45.

        On November 29, 2018, the ACGME report from the June 21, 2018 egregious site visit found

that the allegations brought forth by the seven Black females of unsupervised procedures on patients,

extended duty hours, lack of monitoring in the Internal Medicine Department, and an overburdening

of the Med-Peds residency program and deficiencies in certain rotations were true.

                                                46.

        ACGME found that race or gender discrimination could not be excluded as a reason for

these deficiencies given that the Med-Peds residency program is made up with a higher percentage

of minority residents than the Internal Medicine residency Program. As per the ACGME Nov 2018

report, "It was noted that the medicine pediatrics residency program has more individuals of color

than the IM program, and an association could not be excluded." With all of these findings,

ACGME gave Tulane the official status of "Continued Accreditation with "Warning Status."

                                                47.

        ACGME found that there was a potential conflict of interest and structural issues that can

arise from Dr. Wiese occupying both role as the Program Director of Internal medicine residency

and the DIO. As per the ACGME report:




00553244.WPD;1                                  -12-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 13 of 49




                 "There is a structural conflict that results from Dr. Wiese's dual role
                 as IM program director and DIO/Associate Dean of GME and chair
                 of the GMEC. This likely makes it more challenging to impossible
                 when residents or program directors seek a resolution to concerns
                 through the GMEC, particularly when the concerns may pertain to the
                 actions of Dr. Wiese in one of his roles.

                 In response to a question to the dean [Hamm] whether the Tulane
                 University School of Medicine has an ombudsperson, particularly
                 given the potential structural issue and potential for conflict of
                 interest, given that the director of the IM program also is the DIO, Dr.
                 Hamm noted that, at present, there is no such person. He added that,
                 following receipt of the complaint, institutional leadership has had
                 been discussing appointing one of the medical school's associate
                 deans with that responsibility. No action had been taken at the time
                 of the site visit."

                                                   48.

        ACGME found that Tulane had violated Dr. Dennar’s authority as the Med -Peds Program

Director as part of the ACGME Program Requirement IV.C:

                 "The program director should have the sufficient authority and
                 resources to enact any changes required to the combined program.
                 (Core)

                 The main issue, as identified by the Committee in careful consultation
                 with the field activities office, is that the relationship between the
                 core Internal Medicine program director and the program director of
                 this combined program is not collaborative and healthy. As an
                 example, they had not met in person in the time between the site visit
                 was announced and the time it occurred. There are significant
                 disagreements about the philosophy and implementation of combined
                 training and the core Internal Medicine program director seems to
                 have taken decisional command. Complicating this relationship is the
                 fact that institutional oversight by the Designated Institutional
                 Official (DIO) poses an inherent conflict, as the DIO would be
                 required to audit himself. There was no apparent institutional
                 mechanism identified by the site team to resolve this conflict of
                 interest.




00553244.WPD;1                                    -13-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 14 of 49




                 The program director of a combined Internal Medicine-Pediatrics
                 program has the responsibility and authority for curricular design and
                 implementation *in cooperation with* the program directors of the
                 core Internal Medicine and Pediatrics programs. The Committee calls
                 for a return site visit next year to assess the effects of changes that the
                 Tulane leadership and GMEC implement to address this core."

                                                    49.

        In June 2018, Dr. Dennar was notified by a Med-Peds intern ( minority background) that he

was not going to be promoted to his subsequent PGY 2 year at the end of June. Neither Dr. Dennar

nor intern had received any written notification of concerns that would warrant this action. The intern

was informed of this decision indirectly through a schedule on "amion" that was posted publicly by

the Internal Medicine residency department. The Med-Peds Clinical Competency Committee had

already met and had not issued any changes that would result in him having to make up any

additional time. As per the ACGME report on this matter, " There appeared to be a failure of

timely communication of this information to the medicine-pediatrics program director, with the

current communication challenges resulting from the complaint to the OIE being implicated as a

contributing factor."

                                                    50.

         2018 was the first year Tulane was to graduate an all minority female class in Med-Peds.

However, that class was not allowed by Dr. Wiese to complete the required four weeks emergency

medicine rotation or subspecialty elective requirements. Typically, on an annual basis, Dr. Dennar

would send both the Internal Medicine Program Director and the Pediatrics Program Director and

their respective Chiefs the remaining requirements for each Med-Peds resident which became known

as the "blue-green sheets." The Pediatrics Program Director and Chiefs would meet with Dr. Dennar



00553244.WPD;1                                      -14-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 15 of 49




to confirm the schedule before the schedule is sent out to ensure that the Med-Peds residents are

meeting their requirements while rotating in Pediatrics. The Internal Medicine Program Director, Dr.

Wiese, and Chiefs would meet with Dr. Dennar, but Dr. Wiese would assume decisional command

and send out a schedule that was not consistent with the ACGME requirements that Dr. Dennar had

provided. This resulted in the Med-Peds residents having a shortage in their Internal Medicine

portion of the ACGME requirements.

                                                51.

        Dr. Dennar is the only Black female residency Program Director at Tulane and has not been

able to maintain authority of her residency program without the DIO's direct interference, unlike

other Program Directors at Tulane.

                                                52.

        In response to complaints made by Dr. Dennar, on one occasion, Dr. Wiese informed “they

won’t need this in the future; I think it’s a useless rotation [anyway].” And, he advised “You can

do what I do and just forge their requirements.”

                                                53.

        After Dr. Dennar protested Dr. Wiese’s actions and attitude, she was informed by her

Residents that Dr. Wiese had allegedly advised them that the requirements did not matter to him and

that they needed to be team players and accept that, which they understood to mean accept his

decisions without protest.

                                                54.

        The Residents informed Dr. Dennar that Dr. Wiese stated in an educational session, he would

be willing to take a "slap on the wrist" if they contacted ACGME. Whenever Dr. Dennar would


00553244.WPD;1                                 -15-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 16 of 49




voice concerns about this directly to Dr. Wiese, he would threaten her position or the closure of the

program in his role as DIO.

                                                55.

        The black female Residents also reported that Dr. Wiese informed them that the buck stopped

with him and that no one else mattered in the decision making process which they understood to

mean that Dr. Wiese had supplanted Dr. Dennar’s authority and that the Residents had to follow his

directions and take orders from him.

                                                56.

        Further, the ACGME requirements state that Residents should be given four blocks (16

weeks or 4 months) of subspecialty elective time in their four years. However, due to the decisional

command and scheduling imposed by Dr. Wiese, which disproportionately and adversely impacted

the Med-Peds Program, more adversely after June 2017, some of the black female Med-Peds

Residents received only six weeks of elective time during 24 months of internal medicine rotation.

                                                57.

        In response to concerns expressed by the black female Residents and Dr. Dennar in April

2018, Dr. Wiese threatened to permanently reduce the number of Residents in Dr. Dennar's program

from six to four and further subverted Dr. Dennar's ability to perform her role as the Med-Peds

Program Director and the Medicine Director for Internal Medicine Residency Clinic.

                                                58.

        In July 2018, Dr. Dennar received an email from Dr. Wiese's Assistant Program Director

("APD"), Dr. Anthony Marsh, informing her that he had been asked by Dr. Wiese to form an

ambulatory based Resident Evaluation Committee that will be known as the Clinic Educational


00553244.WPD;1                                  -16-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 17 of 49




Committee ("CEC"). The plan was to have the committee review resident's performance and to

design /develop program wide expectation processes to enhance the clinic experience for residents.

                                                  59.

        Prior to the formation of this CEC committee, Dr. Dennar would meet with the Medical

Director for the VA and other clinical services , in the capacity of Medical Director for the Residency

clinic, to address these goals as this was part of her responsibilities.

                                                  60.

        After the formation of the committee, Dr. Dennar was not regularly invited to meetings and

her responsibility for developing the goals and responsibilities of residents in the clinic as Medical

Director was diminished. For example, Internal Medicine residents from Dr. Dennar's UMCNO

Internal Medicine clinic who were funded to attend that clinic were abruptly reallocated to the newly

opened New Orleans Veteran Affairs Medical Center inpatient service without her approval.

                                                  61.

        ACGME Policy 11-A.1 instructs that there must be a single program director with authority

and accountability for the operation of the program and Policy 11-A.6 instructs that program

directors must demonstrate collaboration and coordination of curriculum and rotations.

                                                  62.

        Dr. Wiese ignored and violated these obligations by usurping Dr. Dennar’s authority. As a

result of Dr. Dennar’s complaints, he actively undermined Dr. Dennar’s ability to fulfill her role as

Program Director.




00553244.WPD;1                                   -17-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 18 of 49




                                                63.

        According to ACGME, the Program Director should have the authority to approve program

faculty members for participation in the residency programs education at all sites. In addition, the

Program Director should have the authority to remove program faculty members for participation

in the residency program education at all sites. While Dr. Wiese was able to meet with every faculty

that interviewed at Tulane for the Internal medicine department, Dr. Dennar was very rarely given

the opportunity to interview a new faculty member that would participate with her residents in any

of the institutions.

                                                64.

        Evaluations given of other faculty or Chief residents in her role as Program Director or

Medical Director were often dismissed or usurped by Dr. Wiese.

                                                65.

        Dr. Dennar, as Program Director, had access to portions of an evaluation tool, Med-Hub,

that would allow her to review faculty or Chief evaluations. After engaging in protected activity,

that access was removed or blinded. Similarly, Dr. Dennar's access to duty hour reporting for

rotations in Internal Medicine was also removed so she would not be able to assess rotations that

violated residents duty hour restrictions.

                                                66.

        On several occasions, Dr. Dennar communicated with Dr. Wiese regarding the fact that the

medicine rotations were not meeting ACGME guidelines for the Med-Peds Residents’ curriculum.




00553244.WPD;1                                 -18-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 19 of 49




                                                 67.

        The Med-Peds residents should complete 2/3 the amount of time of an Internal Medicine

resident rotation on the wards or ICU which should average out to approximately 31 weeks of

inpatient time and 8 weeks ( not to exceed 16 weeks) of ICU/CCU time during their 24 months in

Internal Medicine. However, the Med Peds residents were completing approximately 42 weeks of

inpatient time and 16 weeks of ICU/CCU in 24 months of Internal Medicine.

                                                 68.

        The Internal Medicine residents' rotations should have been approximately 46 weeks of

inpatient wards time and 28 weeks of ICU/CCU in their 36 months of Internal Medicine. However,

in 2018, the Internal Medicine Residents were doing only 38 weeks of inpatient ward time and an

average of 18 weeks of ICU/CCU. Their average amount of elective and subspecialty time should

have been approximately 26 weeks but was actually approximately 50 weeks.

                                                 69.

        The Med-Peds residents average amount of time in elective/subspecialty time was 8 weeks

instead of the required 16 weeks in 2018.

                                                 70.

        In essence, Dr. Wiese was allocating more than the required elective/subspecialty time to the

Internal Medicine residents and taking it away from residents who were under Dr. Dennar's authority

in the Med-Peds residency. Of note, a significant portion of those residents were minority females

as opposed to the Internal Medicine department.




00553244.WPD;1                                  -19-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 20 of 49




                                                  71.

        Dr. Wiese’s response was nearly always the same refrain that Med-Peds Residents need to

act like team players and not a separate class with preferential treatment. In essence, when the Med-

Peds Residents requested that their educational requirements be met, Dr. Wiese ignored them and

accused them of not being team players.

                                                  72.

        After one specific complaint by a Med-Peds Resident and Dr. Dennar's objections in January

2018, Dr. Wiese retaliated by threatening to reduce the class intake from six Residents to four for

the upcoming academic year under the guise of "restructuring" GME . Such an act would have been

very impactful to the reputation of the Tulane Med-Peds residency program. A reduction in allocated

slots implies a reduction in financial support and translates to residency instability. He also

communicated to Residents discouraging them from speaking with ACGME. As a result of these

threats, fear of retaliation was reflected in the anonymous 2017-2018 Med Peds resident survey

conducted by ACGME and again in the 2018-2019 survey.

                                                  73.

        A retaliatory email on January 31, 2018, to Dr. Dennar regarding obtaining innately qualified

residents to justify not keeping our allocated number was also issued by Dr. Wiese:

                 We are at the eleventh hour for match position allocations, and the
                 final decision on those allocations will be at tomorrow's GMEC
                 meeting.

                 In fairness, I believe it is way too late to change the med-peds match
                 allotment. And in truth, I am not opposed to keeping the match
                 allotment at six positions provided we are able to fill those positions


00553244.WPD;1                                    -20-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 21 of 49




                 with quality talent, and provided that the program provides
                 appropriate support to the pediatrics and medicine programs.

                 That said, I am concerned about the program coming up short last
                 year, and that one of the five of six that was matched was a person
                 who went unmatched the year prior (who was at the bottom of the
                 medicine match list for that year). I just think that doing both
                 medicine and pediatrics in a shortened time frame is a challenge in
                 and of itself, and pulling someone in out of SOAP, or someone not
                 innately qualified to pass both boards, is not a healthy proposition for
                 the med-peds program.

                 What I am going to propose to the GMEC is that that med-peds keeps
                 six in the match this year, but with two reversions; meaning that if it
                 does not fill, the first unfilled position would add to pediatrics match
                 complement, and if there is a second unfilled position, it would go to
                 medicine' match complement. Of course, if the program fills entirely,
                 then all six would go to med-peds. All three program directors do
                 need to ensure that everyone on the match list is of sufficient quality
                 to endure two three-year training programs in four years. To the
                 extent that he is available, I will ask Paul Gladden to chair that
                 component of the meeting. But in advance of that, it would be useful
                 to have all on this email weigh in on this issue in advance of the
                 meeting tomorrow night.

                 At some point in the near future, I think the leadership of both
                 medicine and pediatrics needs to come together to discuss the
                 contributions that the medicine-pediatrics residency program offers
                 to the needs of both programs, as this is a core ACGME requirement
                 of the med-peds program that it contributes to, and not detracts from,
                 the operations of both of the core programs. That discussion can come
                 later, though as both programs are preparing to construct schedules
                 for next year, it would be good if that discussion came sooner than
                 later.

                 Let me know your thoughts. (Underscoring added.)

                                                   74.

        Dr. Dennar's response that same night was a follows:

                 I'm surprise to hear this! Last year was the first year in 9 years that
                 Med Peds did not match. It was also the first time that we went below
                 our second tier. The person we pulled from the SOAP is an MDPhD

00553244.WPD;1                                    -21-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 22 of 49




                 with good scores, who allegedly only ranked one program so that she
                 could stay closer to home. She scored higher than some categorical
                 residents in both the Medicine and Pediatric inservice score this year.
                 So even with the SOAP "scramble", she is qualified. The scramble
                 was an isolated incident---not a trend. Consequently, I believe like Dr.
                 Wiese stated Med Peds should be given the opportunity to maintain
                 its numbers.

                 I do not anticipate Med-Peds going through the SOAP this year. But
                 pulling allotted numbers ---if we do not match---will disrupt the
                 balance of shared patient panels, continuity of care, inpatient call
                 coverage during the switch---not to mention the morale of the
                 residents.

                 The Med-Peds residents are equally Internal Medicine residents as
                 they are Pediatric residents. Their narrative will always be that they
                 are as strong as the core programs that trained them because they are
                 simply a peninsula---an extension of what is good and bright in
                 Medicine and in Pediatrics.

                 Similar to every program, there are few residents who are weaker and
                 a few that are stronger. Overall, we have made major contributions to
                 the both programs and I ask that the revision not be proposed.

                                                   75.

        In addition to threatening to reduce the number of Med-Peds Residents from six to four, Dr.

Wiese, in violation of ACGME Policy D, actively enticed and negotiated with two Med-Peds interns

encouraging their movement out of the Med-Peds Residency into his Internal Medicine Program.

He did this without communication with Dr. Dennar and in disregard of the GME policy.

                                                   76.

        A Resident was reprimanded by Dr. Dennar for concerns with professionalism and

interpersonal skills and communication and was put on a coaching plan that required observation

for potential remediation. As part of Tulane's GME policy, the program director and faculty from

the recruiting program must refrain from actively initiating, enticing or negotiating with the


00553244.WPD;1                                    -22-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 23 of 49




candidate until the resident's current program director has given approval for this communication.

Dr. Wiese in his capacity as DIO, circumvented policies and conventions of line management in the

organizational structure.

                                                   77.

        After the reduction in the Med-Peds complement, Dr. Dennar should have been allowed to

recruit two spots as a result of the vacancies. However, Dr. Wiese contacted the Pediatric Program

Director (another white male) and informed him that he would give him 1.0 FTE Pediatric slot in

lieu of the two 0.5 FTE Med-Peds slots that should have been allocated to Dr. Dennar. Dr. Wiese

never informed Dr. Dennar of his decision directly, Instead she was informed through an email that

went to the public House-staff list serve.

                                                   78.

        One Resident, an Indian female who Dr. Wiese initially referred to as "not innately qualified"

and on the bottom of his rank list in the January 31, 2018, email, contacted Dr. Wiese to transfer

from Med-Peds to Internal Medicine after she was reprimanded by both faculty from the Pediatrics

department and Dr. Dennar for conduct reflecting a lack of professionalism and inappropriate

conduct which adversely impacted patient care in the Pediatrics Department.

                                                   79.

        In order for a Resident to transfer from one program to another, it requires following the

GME policy as outlined below:

                 GME Policy: D. Recruitment of residents and fellows between
                 training programs at Tulane:
                 1. When a position in a training program is, or becomes, vacant,
                 vacancy and its intent to fill the position after receiving approval from
                 the DIO.


00553244.WPD;1                                     -23-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 24 of 49




                 2. A resident who is interested, but who is currently under contract in
                 another Tulane training program, may apply for the open position.
                 3. The resident applicant must disclose to the recruiting program
                 director any contractual obligation that currently exists to his or her
                 current program. The resident must also disclose to his or her current
                 program director the intention to pursue the open position,
                  4. The program director and faculty from the recruiting program must
                 refrain from actively initiating, enticing or negotiating with the
                 candidate until the resident's current program director has given
                 approval for this communication.
                  5. A letter of intent to release the resident from his or her contractual
                 obligation and a letter of recommendation outlining his or her
                 performance with respect to each of the core competencies must be
                 obtained from the current program director before a contract can be
                 offered to the resident by the recruiting program.
                 6. The start date for the resident in the new program must be
                 approved by the resident's current program director.
                 7. The DIO will serve as the mediator in any situation in which the
                 two program directors cannot reach an amicable resolution to the
                 resident wishing to switch programs.
                  8. Failure to abide by the rules set forth in this section may result in
                 a reduction in the program's complement for the following year.

                                                    80.

        Without contacting Dr. Dennar, Dr. Wiese subverted Dr. Dennar's authority and granted the

Resident's request. Dr. Wiese did not follow any of the steps outlined in the GME policy regarding

recruitment of residents and fellows between training programs at Tulane. Consistently, Dr. Dennar

was treated differently, as the only Black female, from the other Program Directors.

                                                    81.

        In addition to the obligations imposed and rights existing under Title VII, both Tulane’s

GME and the ACGME each have anti-discrimination policies which are contractual.




00553244.WPD;1                                     -24-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 25 of 49




                                                82.

        In active violation of each, Dr. Wiese introduced and mandated use of ATLAS as a quality

tool ostensibly to help rank medical students based on their individual quality and to report this

ranking and quality to the Provost’s office.

                                                83.

        The ATLAS program gives quality scores to all medical schools and the quality school for

historically black colleges are given the lowest quality school.

                                                84.

        Historically black colleges and universities are given the same low score as a score from a

school outside of the United States. Consequently, students who go to these HBCU schools or

schools with a far greater percentage of minorities are automatically placed on a lower quality

ranking tier through the ATLAS system employed at the direction of Dr. Wiese.

                                                85.

        More particularly, the rubric ranks under-represented minority applicants from traditionally

black medical colleges in the lowest tier, regardless of their academic performance on standardized

examinations, class rank, or the Dean's list.

                                                86.

        In so doing, Tulane instituted a screening process which discriminated against minority

students who graduated from traditionally black medical colleges by undervaluing their performance

and the quality of their education based upon invalid and unlawful race based factors and maintained




00553244.WPD;1                                  -25-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 26 of 49




a reduction in the number of minority physician trainees in Tulane's residencies, particularly the

Internal Medicine department.

                                                   87.

        Dr. Wiese authored an email which states:

                 “I would like us to use the ATLAS document to track quality points
                 for each applicant . . . This will help you in assessing an applicant’s
                 relative strength even as the recruitment proceeds . . . enabling
                 aggressive recruiting from the beginning for those applicants who you
                 know will be at the top of the list (i.e., high quality score) . . . the
                 primary purpose of ATLAS is to help you make more objective
                 decisions in selecting candidates for interviews and in making the
                 final rank list. In particular, ATLAS integrates the quality of the
                 medical school from which the applicant comes, class core tile
                 from that school, as well as Board scores . . . The third additional
                 field on the sheet is under-represented minorities. While the decision
                 as to who we admit to our residency and fellowship programs should
                 still ride on overall quality and ability, I do want us to take a more
                 active role in recruiting under-represented minorities, including
                 LGBTQ. Should you find several applicants and a cohort of more or
                 less the same quality score, you might look to prioritize the under-
                 represented minority applicant.”

                                                   88.

        This statement by Dr. Wiese is disingenuous on its face as his imposed ATLAS tool does not

appropriately provide for an unbiased objective assessment. Rather, it promotes an assessment

which disadvantages minorities as his ATLAS template knowingly ranks traditionally black medical

colleges at a lower tier and he routinely reviewed Dr. Dennar’s rank list prior to submission to ensure

that ATLAS ranking of HBCU schools was followed, and black Residency candidates were stopped

from “matching with Tulane.”




00553244.WPD;1                                    -26-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 27 of 49




                                                 89.

        ACGME Policy 6.B.3 instructs that the Program Director, Dr. Dennar, in partnership with

the sponsoring institution, must provide a culture of professionalism that supports patient safety and

personal responsibility.

                                                 90.

        Dr. Wiese actively undermined Dr. Dennar’s leadership as the Medical Director of the

Internal Medicine Residency Ambulatory Clinic by ignoring her valid concerns over

unprofessionalism of Residents that threatened patients’ safety and disregard of personal

responsibility.

                                                 91.

        Based upon a specific correspondence with the ACGME and a group letter from several black

female Residents in the combined Med-Peds Residency, ACGME scheduled, and on June 21, 2018,

conducted a site visit to investigate the allegations of race and gender discrimination.

                                                 92.

        In the days leading up to the ACGME egregious site visit, continuous acts of intimidation

against the Residents was perpetuated by Tulane through phone calls, emails, and meetings.

                                                 93.

        Dr. Dennar was herself to select an oversampled (ACGME requested mostly female and

minorities) group of minority female faculty and Residents to meet with the ACGME.




00553244.WPD;1                                  -27-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 28 of 49




                                                94.

        The night before the June 21, 2018, ACGME site visit, Dr. Dennar was advised by Tulane’s

General Counsel’s office that Tulane had added additional all white faculty to attend Dr. Dennar’s

portion of the investigation.

                                                95.

        One day later, Tulane's Office of Institutional Equity ("OIE") conducted an allegedly

independent investigation of Dr. Dennar's April 6, 2018, complaints. Deborah Love, then Director

of OIE contacted Dr. Dennar to determine if Tulane’s General Counsel had also provided her and

the seven Black female Residents with names of attorneys to use as she had learned that this was

offered to Dr. Wiese prior to start of the OIE investigation and Ms. Love wanted to ensure that we

were all treated fairly. General Counsel did not offer the same amenity to Dr. Dennar.

                                                96.

        The investigation, contrary to law and Tulane's own contractual commitments set forth in

University contracts, including Tulane's Anti-Discrimination Harassment policy, was by no means

independent and failed to reach accurate or appropriate conclusions.

                                                97.

        The investigator, Ellen Rains, was then an associate with the New Orleans office of the law

firm of Ogletree Deakins.

                                                98.

        Ms. Rains then worked in connection with and/or under the supervision of Partner/Director,

Mark Mallery.


00553244.WPD;1                                 -28-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 29 of 49




                                                 99.

        In the past, Ogletree and Mr. Mallery have been retained as defense counsel for Tulane in

litigation brought by former faculty against Tulane, and, on information and belief, other matters to

which Tulane was a party.

                                                100.

        There is substantial and legitimate concern as to whether counsel who seeks representation

of or has represented an entity should or is able to perform an “independent examination” of the

entity because they are by definition potentially not independent.

                                                101.

        On August 31, 2018, Ms. Rains issued a report on her investigation. The report itself has

numerous errors, including, but not limited to, the inaccurate assertion that “Dr. Dennar admits . . .

that she was not required to use th[e] ATLAS tool.”

                                                102.

        Further, Ms. Rains reached conclusions which inappropriately conflate her understanding of

legal concerns in litigation with Tulane’s obligation to neither discriminate nor harass on the basis

of race or gender.     In so doing, she dismissed elements of discrimination and harassment

incompatible with University policies and contracts based upon a conclusion that Dr. Dennar had

not suffered any adverse employment action.

                                                103.

        Ms. Rains further conflated complaints made by Residents attributing them to Dr. Dennar

and then finding no valid basis for a discrimination complaint.




00553244.WPD;1                                  -29-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 30 of 49




                                                104.

        On November 2, 2018, Dr. Dennar filed a formal complaint of discrimination with the Equal

Employment Opportunity Commission (“EEOC”) which, in large measure, tracked her April 6,

2018, internal complaint, but also noted further retaliation from occurring shortly after Dr. Dennar

and the Med-Peds minority Residents were interviewed by Ms. Rains in connection with her internal

complaint.

                                                105.

        Dr. Dennar’s annual reappointment letter with Tulane was written on July 1, 2018, but not

received until August 1, 2018.

                                                106.

        The reappointment letter reveals that Tulane had increased Dr. Dennar’s workload while

decreasing her base salary.

                                                107.

        The punitive nature of these acts were the result of retaliation against Dr. Dennar for her

having filed official letters of complaint raising issues of race and gender based discrimination and

harassment.

                                                108.

        Dr. Dennar's reappointment letter revealed the creation of a new administrative section in her

contract and shifted approximately $30,000 from her base salary to an administrative office

appointment authorizing the former Chair to void or eliminate that portion of the salary which had

been inappropriately taken from the base salary.


00553244.WPD;1                                  -30-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 31 of 49




                                                109.

        On August 3, 2018, Dr. Dennar questioned her Section Chief on why the sudden change in

her reappointment after discovering that no one else with directorship titles had an "administrative”

section added. At that time, she was informed by her Section Chief that she was not sure but " it

came from the Department."

                                                110.

        As Dr. Dennar’s retirement plan is determined by her base salary, a reduction in the base

salary would cause a reduction in Tulane’s contribution to her retirement.

                                                111.

        When Dr. Dennar complained about this obvious impropriety, Tulane withdrew these specific

actions and did not diminish her salary as threatened in the contract presented to her.

                                                112.

        Had Dr. Dennar not complained, the retaliatory conduct would have been in effect.

                                                113.

        Still, further, Dr. Dennar continues in the junior position of Assistant Professor. Under

normal progression, Dr. Dennar would have advanced to Associate Professor within five to seven

years. The failure to properly and timely promote her to Associate Professor is based on her status

as a black woman and/or in retaliation for her having raised issues of discrimination as there is no

legitimate purpose for her having not yet been promoted to Associate Professor with all of the

emoluments that such a promotion entails.




00553244.WPD;1                                  -31-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 32 of 49




                                                 114.

        Additional acts of retaliation which diminished her professional responsibilities and

subverted her ability to fulfill all of the obligations of her position include the changes to the terms

and conditions of her employment such that her authority, responsibilities, and access to critical

resources as a Program Director were diminished, impeded, and/or adjusted so that they now differ

from all white Program Directors; and restrictions on her authority and the concomitant tools needed

to optimally function as the Med-Peds Program Director.

                                                 115.

        On information and belief, Dean Hamm and Dr. Wiese were responsible for removal of Dr.

Dennar’s access to computer platforms (known as MedHub) which allowed her to perform duties

as Program Director such as reviewing evaluations of Residents and Faculty, Resident procedure

logs, and Resident duty hour violations.

                                                 116.

        Specifically, on July 8, 2018, Dr. Dennar’s MedHub access was suddenly removed in

response to which Dr. Dennar lodged a formal complaint.

                                                 117.

        Some MedHub access was not restored until October 29, 2018. Thereafter, on July 31, 2019,

Dr. Dennar informed that her MedHub access was reduced to basic features of a mentor instead of

the features necessary and appropriate for her in her role as a Medical Program Director.




00553244.WPD;1                                   -32-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 33 of 49




                                               118.

        On March 6, 2020, after a meeting with Linzi Conners on that issue, Dr. Dennar was granted

MedHub access like or similar to the kind allocated to other Program Directors.

                                               119.

        Had Dr. Dennar not pressed her complaints about the discriminatory and retaliatory

treatment, the adverse impacts and treatment would have remained.

                                               120.

         On July 2020, it was discovered that the Med-Peds Residents’ Medhub access to all three

departments (Internal Medicine, Pediatrics, and Med-Peds) were removed to prevent the Med Peds

residents from putting in their duty hours when they rotated in the Internal Medicine department.

This was done without Dr. Dennar's input or knowledge.

                                               121.

        Computer platforms known as Red Wiki provide tools which enable Dr. Dennar to perform

her duties as Program Director such as collaborating with other Program Directors, reviewing

institutional citations and GME minutes, obtaining resources needed to prepare for an ACGME site

visit, and keeping up with GME policies.

                                               122.

        On October 20, 2019, Dr. Dennar observed that her access to Red Wiki was denied prior to

an ACGME institutional site visit on October 22, 2019.




00553244.WPD;1                                 -33-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 34 of 49




                                                123.

        Dr. Dennar’s access, which was essential to allow her to collaborate and consult with other

Program Directors and to participate and select GME meeting activities needed for timely and

accurate updated GME policies pertaining to her program, was actively subverted.

                                                124.

        On November 12, 2019, Dr. Dennar emailed GME, of which Dr. Wiese was the Director,

requesting that her access be reinstated. On November 13, 2019, she was informed that access was

restored.

                                                125.

        Had Dr. Dennar not pressed her complaints about the discriminatory and retaliatory

treatment, the adverse impacts and treatment would have remained.

                                                126.

        On October 4, 2019, Dr. Dennar sent an email to several individuals, including Dr. Wiese

and Dr. Hamm, informing them of an upcoming AGCME site visit scheduled for October 22, 2019.

                                                127.

        In her communication, she called to their attention that she had not received any information

from leadership like that which was accorded to other Program Directors. She requested that she be

included in the process and be allowed to present for the Med-Peds representation.

                                                128.

        On October 7, 2019, Dr. Dennar again requested to be included in ACGME processes, having

made such a request in the past. Her request was not honored and she never received a response.


00553244.WPD;1                                  -34-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 35 of 49




                                                 129.

        As a result of this affirmative act of exclusion, she has not been informed of meetings or the

results of meetings that are routinely attended by other Program Directors and she has not been given

the results of the institutional site visit like other Program Directors.

                                                 130.

        Dr. Dennar’s name was omitted from credentialing at Children’s Hospital, a new site of

training for physicians in her Program.

                                                 131.

        As a physician cannot practice at a hospital when they have not been credentialed at that

hospital, Dr. Dennar was excluded from fulfilling her professional functions.

                                                 132.

        It is to be noted that the Pediatric Program Director, a white male, who had not made

complaints such as those made by Dr. Dennar, did not face such an impediment and obvious

retaliatory conduct.

                                                 133.

        When Dr. Dennar inquired as to the situation, she was affirmatively informed that her name

was not on the list of faculty members submitted for credentialing. As a consequence, Dr. Dennar

had to personally contact Children’s Hospital herself and was eventually credentialed.

                                                 134.

        Had Dr. Dennar not taken such active steps, the retaliatory punishment would have

permanently deprived her of credentials necessary to perform her job responsibilities.




00553244.WPD;1                                    -35-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 36 of 49




                                               135.

        Dr. Dennar’s name was actively and affirmatively removed from the GME list serve causing

her to not receive emails which go out to all members of the School of Medicine. As a result, she

did not receive and was not able to act on important emails pertinent to her job and safety.

                                               136.

        As an example, on November 8, 2019, Dean Hamm forwarded an email solely and

exclusively to Dr. Dennar. The email originated earlier that day from another source. In that

forwarded email, Dr. Dennar was informed that two individuals with rifles were seen on foot in the

parking garage where Dr. Dennar parked her car.

                                               137.

        As a result of being excluded from the initial email(s) that placed the staff on alert and

warned them not to park in that area, Dr. Dennar was not simultaneously provided with such notice

and was potentially exposed to a concern as to which other individuals had been placed on notice

and informed to avoid. Dr. Dennar had to contact the police captain before she received any notice

of clearance the following day.

                                               138.

        An important role in the life of the Tulane Medical School is the Designated Institutional

Officer. Dr. Dennar, as Med-Peds Program Director, was assigned a DIO different from that of all

other Program Directors.




00553244.WPD;1                                 -36-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 37 of 49




                                                 139.

        A DIO’s essential responsibility is to remain up to speed on all job related requests from

Program Directors and to accommodate or otherwise assist Program Directors by helping to facilitate

the carrying out of important work processes or functions.

                                                 140.

        The DIO assigned to Dr. Dennar confirmed to her that he was totally unfamiliar with items

requested by her and was unable to accommodate such requests.

                                                 141.

        Whenever Dr. Dennar confronted the DIO on his obvious lack of cooperation as it relates to

teamwork, that DIO would routinely and frequently remark that Dean Hamm or Dr. Wiese would

have to approve the particular request then being made by Dr. Dennar.

                                                 142.

        The net result of all of the obvious inefficiencies is that almost none of Dr. Dennar’s requests

to the assigned DIO were approved, thus interposing an unnecessary inefficient layer of bureaucracy

and further subverting and burdening the performance of her professional responsibilities and

impairing her progress.

                                                 143.

        Dr. Dennar made several requests to GME for assistance in connection with an AGCME

Med-Peds site visit taking place on December 4, 2019.




00553244.WPD;1                                   -37-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 38 of 49




                                                  144.

        Her request went ignored except to the extent that she, as the Med-Peds Director, was advised

“you should clean the room for the visit.” Thereafter, when Dr. Dennar questioned the impropriety

of that directive, she was informed that she could “get the room cleaned.”

                                                  145.

        Between December 9, 2019, and April 24, 2020, further steps were taken which diminished

her job functions and authority as Program Director, unduly hampering her ability to perform her job

responsibilities. Most particularly, in addition to her obligations as Program Director, she had

imposed upon her the responsibilities of “Program Coordinator,” thus compounding her

responsibilities as Program Director with those of the Program Coordinator all without additional

compensation.

                                                  146.

        While Dr. Dennar is “core faculty,” she was the only Internal Medicine faculty member not

affirmatively listed as “core faculty.”

                                                  147.

        Prior to Dr. Dennar’s filing her initial EEOC complaint, she was able to evaluate the IM

Residency Program as a core IM faculty member. As a consequence of her being unfairly removed

as core faculty, she no longer receives those evaluations

                                                  148.

        In addition to this act diminishing her status, it had adverse practical ramifications in that she

is not allowed to provide feedback about the internal medicine department or its faculty. In addition,

to not being seen as core faculty in the Internal Medicine department, the former chair. In addition,


00553244.WPD;1                                    -38-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 39 of 49




Dr. Dennar had not been invited to the Department of Medicine Leadership & Chiefs monthly

meeting in the entire 12 years at Tulane until August 27, 2020, two days after the EEOC proposed

a mediation of her pending complaint against Tulane.

                                               149.

        Further, inasmuch as she was removed from a core IM faculty list, she was unable to meet

on October 22, 2019, through Internal Medicine to express her concerns regarding the mistreatment

of her Med-Peds Residents.

                                               150.

        After Dr. Dennar contacted ACGME requesting a meeting, the field officer requested to meet

with Dr. Dennar and the Med-Peds Residents separately on October 22, 2019.

                                               151.

        Dr. Dennar’s removal from the ACGME Internal Medicine roster for the October 22, 2019,

annual survey also inhibited her ability to evaluate the Internal Medicine Program and provide

feedback.

                                               152.

        Dr. Dennar was told by Dr. Hamm that she would not be assigned to an office space at a new

location where her Internal Medicine colleagues were to be relocated.

                                               153.

        On August 2, 2019, she met with Dr. Hamm, Dr. Wiese, and others to review an ACGME

citation response that was due on August 31, 2019.

                                               154.

        During the meeting, Dean Hamm asked everyone to clear the room but for Dean Hamm, Dr.

Dennar, the Pediatric Chair, Dr. El-Dahr, and Trenell Smith.


00553244.WPD;1                                 -39-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 40 of 49




                                                155.

          During that small group meeting, Dean Hamm informed Dr. Dennar that he had instructed

Sue Pollack to not respond to Dr. Dennar’s request to relocate with her Internal Medicine colleagues

because they decided to move Dr. Dennar and the entire Med-Peds Program to another location away

from the Internal Medicine or Pediatric Residency.

                                                156.

          Subsequent thereto and after Dr. Dennar’s complained about this abuse as a form of

segregation, she was allowed to move with her colleagues but she received an inferior office space

compared to that of all other Program Directors.

                                                157.

          In March 2020, as the Covid crisis was expanding, all of Dr. Dennar’s Positive Protective

Equipment (PPE) and life saving equipment, were removed from her Med-Peds Clinic while she was

actively seeing patients.

                                                158.

          Dr. Dennar was informed by the Associate Chief Operating Officer, Shawn Flinn, that Dean

Hamm wanted her and the other faculty, each a minority female, to personally see patients without

the Residents to protect the safety of the Residents. This had not been done in any other Residency

Clinic.

                                                159.

          In May 2020, at Dean Hamm’s direction, Shawn Flinn stated that Dr. Dennar’s Med-Peds

Clinic was to relocate. The indicated site lacked space sufficient to continue training her Residents.




00553244.WPD;1                                  -40-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 41 of 49




                                                160.

        As of this date, resources have been removed from the Clinic and no suitable location for the

Med-Peds Clinic or supplies including administrative personnel have been provided in response to

requests by Dr. Dennar.

                                                161.

        Dr. Dennar was on the Equal Opportunity and Institutional Equity Committee and had a three

year appointment.

                                                162.

        On October 6, 2019, before the three year term was over, Dr. Dennar was informed that she

rotated off that Committee.

                                                163.

        Her premature removal from that Committee was in retaliation for Dr. Dennar’s complaints

and perpetuated the hostile environment.

                                                164.

        The numerous events and improper actions described herein demonstrate an ongoing program

or harassment, discrimination, retaliation, and perpetuation of an unlawful hostile environment

intended to force her to resign her employment and to be driven from her workplace and profession.

                                                165.

        On October 20, 2019, Dr. Dennar issued an open letter to Tulane Provost Robin Forman and

University President Michael Fitts for help with dealing with the discrimination and exclusion from

GME and ACGME institutional site visit.




00553244.WPD;1                                  -41-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 42 of 49




                                                 166.

        In her correspondence, Dr. Dennar requested an independent investigator to investigate her

complaints of discrimination and a hostile work environment. The University responded to that

request by again contacting Ellen Rains, the allegedly unbiased neutral investigator who had

performed the investigation previously referenced herein.

                                                 167.

        Dr. Dennar objected to the appointment of Ellen Rains as anything but neutral and unbiased.

                                                 168.

        In response, Dr. Dennar, acting through undersigned counsel, received communication from

Ms. Rains’ superior, Mark Mallery, offering that he would perform the investigation.

                                                 169.

        That Tulane would have reached out to the same investigator who had already rejected Dr.

Dennar’s previous filed grievances and thereafter attempt to supplant Ms. Rains with her superior,

is on its face indication of the absence of commitment to any truly neutral or unbiased investigations.

                                                 170.

        Since Mr. Mallery’s overture was rejected, Dr. Dennar believed that no investigation had

taken place. However, on September 12, Dr. Dennar was informed that the investigation had taken

place. She was provided no specifics other than to be informed that Tulane asserted that she

declined to participate in the investigation and that Tulane rejected her complaint.

                                                 171.

        On May 15, 2020, the ACGME issued citations arising out of the December 4, 2019, site visit

which resulted in the status of Continued Accreditation with Warning to the Med-Peds Program.


00553244.WPD;1                                   -42-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 43 of 49




                                                172.

        The Med-Peds Program citation were mostly the direct result of a violation by the conduct

of the Internal Medicine Department, particularly related to and arising out of an absence of lockers

in the area where Residents on call slept between shifts while in Internal Medicine, the continuous

insufficient authority of the Med Peds program Director to enact any changes required to the

combined program, work hour violations in the Internal Medicine department, the lack of Associate

Program Director financial support provided to the Med-Peds Program, and the lack of protected

time during Monday school in the Internal Medicine department.

                                                173.

        Subsequent thereto, on May 29, 2020, Tulane instituted a special review with respect to the

Med-Peds program but did not institute a special review of the Internal Medicine Program, despite

the fact that the focus of the citation related to the Med-Peds Residents were the conditions arising

from adverse treatment while in the Internal Medicine Program.

                                                174.

        Absent retaliation against Dr. Dennar as a desire to perpetuate a hostile environment, it is

inconceivable that a problem exists with regard to the larger Internal Medicine Program and that the

only Program subject to internal review is the Med-Peds Program which is essentially a subset of the

larger Internal Medicine Program.

                                                175.

        The special review of Med-Peds was a direct product of Dr. Wiese’s retaliation against Dr.

Dennar for her series of complaints of discrimination and a hostile environment.

                                                176.

        That special review is ongoing at present.


00553244.WPD;1                                  -43-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 44 of 49




                                                177.

        As part thereof, Dr. Dennar has been asked to produce irrelevant documents and demands

are being made to pull her away from her professional responsibilities, despite her full cooperation.

In addition, residents were being forced to meet with the GME faculty which resulted in an email

being sent from a couple of residents to GME expressing concerns of retaliation and an attempt to

intimidate residents and faculty from the Med-Peds program as a result of their honesty in the

ACGME resident survey.

                                                178.

        Separate from the special review, Dr. Dennar was required to participate in a monthly

meeting in which Dr. Wiese was not required to participate, despite the fact that the Internal

Medicine Program received the same ACGME citations status in November 2018 Site Visit report

as that issued to the Med-Peds Program. Rather than have Dr. Wiese attend, he required or

instructed an Associate Program Director, a minority female, to attend the meetings in his place.

                                                179.

        Dr. Dennar's funding for the Med-Peds program are now subjected to approval prior to every

expenditure by Sue Pollack under the direction of Dean Hamm despite routine budgeted approval

in the past. Dean Hamm has refused to sign approval letters for residency activities that were

approved in the past.

         VIOLATION OF TITLE VII, 42 U.S.C. § 2000(e), BY DISCRIMINATION,
          HARASSMENT, AND CREATION OF A HOSTILE ENVIRONMENT

                                                180.

        Dr. Dennar incorporates by reference each and every allegation of Paragraphs 1-179 of this

Complaint.




00553244.WPD;1                                  -44-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 45 of 49




                                                181.

        The foregoing demonstrates Dr. Dennar has endured an ongoing pattern of discrimination,

harassment, and a hostile environment by and through numerous separate, continuous, and

cumulating acts of retaliation and abuse which diminish her responsibilities, status, position, and

deprive her of access to needed tools, information, and resources needed to fulfill her

responsibilities, and which comprise an ongoing active attempt to drive her from her position inside

the University, all in violation of Title VII, 42 U.S.C. § 2000(e).

                                                182.

        The violations, which cause an ongoing distress, were orchestrated and carried out through

the decisions and direction of Dr. Wiese and Dean Hamm, acting with the full authority of Tulane

as Dr. Dennar’s employer.

                                                183.

        Dr. Dennar has been damaged to the extent she has been denied a promotion and appropriate

compensation as an Associate Professor and is entitled to back pay to compensate for her wage loss

and benefits loss based on the difference between her salary as an Assistant Professor and that which

she should have received as an Associate Professor.

                                                184.

        As a result of the violations, Dr. Dennar is entitled to receive front pay, back pay,

compensatory damages, punitive damages, attorney’s fees, and costs.




00553244.WPD;1                                  -45-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 46 of 49




        VIOLATION OF THE LOUISIANA ANTI-DISCRIMINATION STATUTES
          THROUGH INTENTIONAL DISCRIMINATION IN EMPLOYMENT

                                                   185.

        Dr. Dennar realleges and incorporates each of the allegations of this Complaint in their

entirety as if set forth in this paragraph in their entirety.

                                                   186.

        Louisiana law, including La. R.S. 23:332, makes it unlawful for an employer to intentionally

discriminate against any individual with respect to compensation or terms, conditions or privileges

of employment because of that individual’s race, color, religion, sex or national origin.

                                                   187.

        Through unlawful race and gender discrimination against Dr. Dennar, through the creation

of a hostile environment, harassment and retaliation against Dr. Dennar in her job duties,

responsibilities, and opportunities, and by failing to promote and/or appropriately compensate Dr.

Dennar, Tulane has violated Louisiana law.

                                                   188.

        As a result of Tulane’s unlawful acts, Dr. Dennar is entitled to receive front pay, back pay,

compensatory damages, attorney’s fees, and costs.

                                         ABUSE OF RIGHTS

                                                   189.

        Dr. Dennar restates in her entirety and incorporates herein each of the prior allegations of this

Complaint as if copied in their entirety in this paragraph.




00553244.WPD;1                                     -46-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 47 of 49




                                                 190.

        Louisiana civilian tradition recognizes a cause of action for abuse of rights when, inter alia,

actions even if otherwise not unlawful when the actions are immoral or unconscionable.

                                                 191.

        Abuse of rights has been recognized as a viable cause of action in connection with

employment conditions in the work place.

                                                 192.

        The cause of action for abuse of rights as recognized in Louisiana applies when one of the

four following conditions is met:

                 (1)   If the predominant motive for it was to cause harm;

                 (2)   If there was no serious or legitimate motive for refusing;

                 (3)   If the exercise of the right to refuse is against moral rules,
                       good faith or elementary fairness; or

                 (4)   If the right to refuse is exercised for a purpose other than for
                       which it was granted.

                                                 193.

        The facts and actions described throughout this Complaint affirm that defendants’ conduct

violated each of the proscriptions against so acting.

                                                 194.

        Based upon the facts set forth hereinabove and incorporated in this count, the actions of

Tulane constituted an abuse of rights for which Dr. Dennar is entitled to all general and special

damages, including loss of income and benefits, and general damages.




00553244.WPD;1                                   -47-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 48 of 49




                                 DEMAND FOR TRIAL BY JURY

                                                  195.

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff, Dr. Princess Dennar, demands a trial by jury on

all questions of fact the Complaint raises.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, Dr. Princess Dennar, prays that this Complaint be served and that

after defendant answers and all proceedings are had herein, there be judgment in favor of plaintiff,

Princess Dennar, and against defendant, The Administrators of the Tulane Educational Fund, such

that plaintiff receives an award of the following, to be determined at trial or as otherwise appropriate:

        a.       An award of back pay, front pay, punitive damages, emotional distress based

                 damages, lost benefits, and other damages Dr. Dennar suffered to be determined at

                 trial under Title VII , the Louisiana Employment Discrimination law and as a result

                 of the abuse of rights;

        b.       An award of prejudgment and post-judgment interest;

        c.       An award of costs and expenses of this action together with reasonable attorney’s

                 fees and expert fees; and

        d.       Such other relief as this Court deems just and proper.




00553244.WPD;1                                    -48-
      Case 2:20-cv-02679-GGG-KWR Document 1 Filed 10/01/20 Page 49 of 49




                                             Respectfully submitted,

                                             LOWE, STEIN, HOFFMAN, ALLWEISS
                                              & HAUVER, L.L.P.

                                             /s/ Michael R. Allweiss
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                                             Attorneys for Princess Dennar, M.D.

PLEASE SERVE:

The Administrators of the Tulane Educational Fund
through its registered agent for service of process:
Victoria D. Johnson
Suite 3600, Gibson Hall
6823 St. Charles Avenue
New Orleans, LA 70118




00553244.WPD;1                                -49-
